


  PER CURIAM.
 

  The petition seeking belated appeal of the judgment and sentence rendered on January 29, 2010, in Duval County Circuit Court case number 16-2008-CF-009451-AXXX-MA, is granted. Upon issuance of mandate, a copy of this opinion shall be furnished to the clerk of the circuit court for treatment as a notice of appeal in accordance with Florida Rule of Appellate Procedure 9.141(c)(5)(D). The court notes that pursuant to the lower tribunal’s order of January 29, 2010, the Office of the Public Defender has been appointed to represent petitioner on appeal.
 

  WOLF, PADOVANO, and CLARK, JJ., concur.
 
